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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION

 UNITED STATES OF AMERICA,                             CR 18–21–BU–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 IAN BROOKS,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on October 31, 2018. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Ian Brooks’ guilty plea after

Brooks appeared before him pursuant to Federal Rule of Criminal Procedure 11,

and entered a plea of guilty to one count of possession with intent to distribute

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heroin in violation of 21 U.S.C. § 841(a)(1) (Count II) as set forth in the

Indictment. In exchange for Defendant’s plea, the United States has agreed to

dismiss Count I of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

36), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Ian Brooks’ motion to change plea

(Doc. 25) is GRANTED and Ian Brooks is adjudged guilty as charged in Count II

of the Indictment.

      DATED this 26th day of November, 2018.




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